    Case 3:12-cv-03860-B Document 15 Filed 03/26/13                         Page 1 of 2 PageID 77



                             I THE UITED STATES DISTRICT COURT
                             FOR THE ORTHER DISTRICT OF TEXAS
                                       DALLAS DIVISIO

                                 Alternative Dispute Resolution Summary


        Provider must file completed form, in duplicate, with the U.S. District Clerk upon
        completion of ADR.

    1. Civil Action number: 3:12-CV-3860-B
    2. Style of case: TINA MECHELLE FOX V. ALPHA TECHNOLOGIES
    3. Nature of suit: Employment
    4. Method of ADR used:         X Mediation         Mini-Trial               Summary Jury Trial
    5. Date ADR session was held: 3/26/2013
    6. Outcome of ADR (Select one):

         Parties did not use my services.                  Settled, in part, as result of ADR

        XX Settled as a result of ADR.                   Parties were unable to reach settlement.
         Continue to work with parties to reach settlement ( ote: provider must file supplemental ADR
        Summary Form at conclusion of his/her services)
    7. What was your TOTAL fee: $2850.00
    8. Duration of ADR: Full Day (i.e., one day, two hours)
    9. Please list persons in attendance (including party association, i.e., defendant, plaintiff):
       (Provider)

            Courtenay L. Bass - Mediator                Jeff Fairchild – Defendant’s Rep.
            Tina Mechelle Fox LaRue                     John L. Freeman, Esq.-Defendant
            W.D. "Bill" Masterson, Esq.-Plaintiff       Nancy Valencia – Plaintiff’s legal asst.
            Mark LaRue – Plaintiff’s spouse             John O’Rourke – Defendant’s Rep.


    Please provide the names, addresses, and telephone number of counsel on the reverse of this form.

Provider information:


VÉâÜàxÇtç _A Utáá                                          March 26, 2013
Signature                                                  Date

3131 McKinney Avenue, Suite 125, Dallas, Texas 75204       (214)303-4500
Address                                                    Telephone
   Case 3:12-cv-03860-B Document 15 Filed 03/26/13   Page 2 of 2 PageID 78



W.D. "Bill" Masterson, Esq.
Kilgore & Kilgore, PLLC
3109 Carlisle
Suite 200
Dallas, TX 75204
(214) 969-9099
(214) 953-0133


John L. Freeman, Esq.
Key Harrington Barnes, P.C.
3710 Rawlins Street
Suite 950
Dallas, TX 75219
(214) 615-7925
(214) 615-7926
